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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF KENTUCKY
                               PADUCAH DIVISION

ADAM W. WILLIAMS,                                     )
                                                      )
                      Plaintiff,                      )
                                                      )   Civil Action, Case No.: ____________
                                                                                   5:17-cv-122-TBR
v.                                                    )
                                                      )   JURY DEMAND
MURCAL SERVICES, LLC d/b/a STEELE &                   )
ALLBRITTEN,                                           )
                                                      )
                      Defendant.                      )


                                          COMPLAINT


        COMES NOW the Plaintiff, Adam W. Williams, by and through his undersigned

counsel, and for his Complaint states as follows:

                               NATURE OF THE COMPLAINT

        1.     This is a civil action arising under the laws of the United States and of the State of

Kentucky, and is brought pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12101 et

seq., and the Kentucky Civil Rights Act, Ky. Rev. Stat. § 344.010 et seq.

                                         THE PARTIES

        2.     Mr. Williams is a resident of Hardin, Marshall County, Kentucky. Mr. Williams

was, at all relevant times, an employee of Defendant Murcal Services, LLC d/b/a Steele &

Allbritten.

        3.     Defendant Murcal Services, LLC is a Kentucky Limited Liability Company doing

business as Steele & Allbritten with its principal place of business at 209 South 3rd Street,

Murray, KY 42071. Its registered agent for service of process is Harold T. Hurt, who may be

served at 111 South 4th Street, Murray, KY 42071.
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                                   JURISDICTION AND VENUE

        4.      This Court has jurisdiction over Mr. Williams’ federal claims pursuant to the

Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., because they raise federal questions

pursuant to 28 U.S.C. § 1331. The Court also has supplemental jurisdiction over Mr. Williams’

state-law claims pursuant to 28 U.S.C. § 1367(a).

        5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the acts giving rise to this lawsuit occurred in this judicial district and

Defendant conducts business and employed Mr. Williams in Calloway County, Kentucky, which

is located within this judicial district.

        6.      Mr. Williams filed a timely charge of discrimination with the Kentucky

Commission on Human Rights, which dual filed the charge with the Equal Employment

Opportunity Commission with respect to the claims pursuant to the Americans with Disabilities

Act set forth below. Mr. Williams received a Notice of Right to Sue from the EEOC less than

ninety days prior to the filing of this Complaint. A copy of Mr. Williams’ Notice of Right to Sue

letter is attached hereto as Exhibit A.

                                    FACTUAL BACKGROUND

        7.      Defendant provides commercial and residential plumbing services.

        8.      Mr. Williams is a Master Plumber who was employed by Defendant to perform

plumbing services.

        9.      Defendant employed fifteen or more employees at all times during Mr. Williams’

employment.

        10.     As a Plumber, Mr. Williams had to perform duties including jack hammering,

assembling pipe sections, and handling plumbing fixtures.




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       11.     On or about April 1, 2016, Mr. Williams notified his boss, Bud Byars, that he was

having severe pain in his wrists and asked what doctor he should see about the problem. Mr.

Byars said he would get back to Mr. Williams.

       12.     Mr. Williams asked on two more occasions over the next seven weeks, with Mr.

Byars responding each time that he would get back to Mr. Williams.

       13.     After working with increasingly severe pain for approximately two months and

getting no response from Mr. Byars, on May 25, 2016, Mr. Williams asked Mr. Byars if he could

go see his chiropractor about the matter. Mr. Byars agreed.

       14.      Mr. Williams went to his chiropractor that same day and was placed on work

restrictions for one week.

       15.     On or about May 31, 2016, Mr. Byars told Mr. Williams he would need to get a

second opinion from a doctor chosen by Defendant.             The same day, Defendant’s safety

consultant told Mr. Williams he should find a different profession, even though Mr. Williams

needed only temporary restrictions before returning to his full duties.

       16.     Later on May 31, 2016, Mr. Williams told Mr. Byars that he had gotten an

appointment with the Orthopaedic Institute. Mr. Byars became very upset at this information

and personally called to cancel Mr. Williams’ appointment.

       17.     Accordingly, Mr. Williams returned to his chiropractor, who referred him to an

orthopaedic doctor, who performed several studies and injections and, when those proved

unsuccessful, referred him to a hand specialist in Nashville, Tennessee.

       18.     Mr. Williams had continued to work full time throughout these months of pain.

       19.     On July 21, 2016, however, Mr. Williams for the first time took off early due to

the pain he was experiencing.




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       20.      Mr. Williams had sufficient accrued leave time to cover his early departure on

July 21, 2016 and he did not fail to perform any essential work duties.

       21.      When Mr. Williams reported to work the next day, on July 22, 2016, however,

Mr. Byars terminated him.

       22.      Mr. Williams had never been issued any discipline during his employment or

informed of any problems with his job performance.

       23.      Mr. Williams performed his job competently at all times.

       24.      Defendant reasonably could have accommodated Mr. Williams’ temporary

medical restrictions.

       25.      Mr. Williams could have performed the essential functions of his job with the

reasonable accommodation of abiding by his temporary medical restrictions while he obtained

medical care.

       26.      The actions of Defendant complained of herein were intentional, willful,

deliberate, knowing, and malicious.

       27.      As a direct, foreseeable, and proximate result of Defendant’s wrongful actions,

Mr. Williams has suffered pecuniary losses in the form of lost income and lost employment

benefits as well as severe emotional distress, emotional pain, suffering, inconvenience, mental

anguish, and other non-pecuniary losses, all in an amount to be determined at trial.

                                            COUNT I

                        DISCRIMINATION IN VIOLATION OF THE
                         AMERICANS WITH DISABILITIES ACT

       28.      Mr. Williams realleges and incorporates herein the allegations contained in

Paragraphs 1 – 27.




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       29.       Defendant’s actions constitute a violation of the Americans with Disabilities Act,

42 U.S.C. § 12101 et seq.

       30.       Defendant failed to provide a reasonable accommodation of Mr. Williams’

legitimate medical needs.

       31.       Defendant discriminated against Mr. Williams by terminating him due to his

disability, because it regarded him as disabled, and/or due to his record of disability even though

he was, at all relevant times, physically and mentally capable of performing all essential

functions of his job with or without a reasonable accommodation.

       32.       Defendant’s discriminatory actions against Mr. Williams were willful and

knowingly committed.

       33.       As a direct and proximate result of Defendant’s adverse treatment of Mr.

Williams in violation of the Americans with Disabilities Act, Mr. Williams was injured and

suffered damages.

       34.       Mr. Williams has sustained a loss of back pay, benefits, incidental expenses, and

front pay.

       35.       Defendant engaged in the discriminatory practices alleged in the first cause of

action with malice and/or with reckless indifference to Mr. Williams’ federally protected rights,

making Defendant liable for compensatory and punitive damages pursuant to 42 U.S.C. §§

1981(a) & (b).

                                            COUNT II

                            RETALIATION IN VIOLATION OF THE
                            AMERICANS WITH DISABILITIES ACT

       36.       Mr. Williams realleges and incorporates herein the allegations contained in

Paragraphs 1 – 35.



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       37.     Defendant terminated Mr. Williams because he requested an accommodation he

was entitled to request pursuant to the Americans with Disabilities Act.

       38.     As a result of Defendant’s conduct, Mr. Williams suffered damages.

                                            COUNT III

                 VIOLATION OF THE KENTUCKY CIVIL RIGHTS ACT

       39.     Mr. Williams realleges and incorporates herein the allegations contained in

Paragraphs 1 – 38.

       40.     Defendant’s actions in refusing to accommodate Mr. Williams; terminating him

on the basis of his disability, perceived disability, or record of disability; and retaliating against

him for seeking an accommodation constitute violations of the Kentucky Civil Rights Act, Ky.

Rev. Stat. § 344.010 et seq.

       41.     Defendant’s violations of the Kentucky Civil Rights Act were willful and

knowingly committed.

       42.     As a direct and proximate result of Defendant’s violation of the Kentucky Civil

Rights Act, Ky. Rev. Stat. § 344.010 et seq., Mr. Williams was injured and suffered damages.

       43.     Mr. Williams has sustained a loss of back pay, benefits, incidental expenses, and

front pay.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully prays as follows:

       1.      That Defendant be served and required to answer within the time prescribed by

law;

       2.      That a jury of eight try this cause;




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        3.      That, upon the trial of this matter, Plaintiff be awarded judgment for damages of

the lost compensation he has suffered from the date of Defendant’s illegal actions in an amount

to be proven at trial;

        4.      That the Court issue an award of front pay in an amount to be proven at trial in

lieu of reinstatement because the actions described herein and the circumstances surrounding the

place of employment have made reinstatement impossible;

        5.      That the Plaintiff be awarded additional compensatory damages pursuant to

Counts I – III, including, but not limited to, damages for emotional distress, pain and suffering,

embarrassment, and humiliation in an amount to be proven at trial;

        6.      That Defendant be ordered to pay punitive damages pursuant to Counts I and II in

an amount to be determined at trial;

        7.      That costs and discretionary costs be taxed against Defendant;

        8.      That costs and attorney’s fees be assessed against Defendant pursuant to 42

U.S.C. § 12205 and Ky. Rev. Stat. § 344.450.

        9.      That pre-Judgment and post-Judgment interest be assessed against Defendant, as

provided by law;

        10.     That such other remedies as shall be necessary and proper to eliminate all

violations complained of herein be awarded as provided by law; and

        11.     For such other and further relief as the Court may find appropriate.




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                                       Respectfully submitted,

                                       s/ D. Wes Sullenger___________________
                                       D. Wes Sullenger, KY BAR # 91861
                                                         TN BPR # 021714

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